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EXHIBIT 5-B

Notice of Non-Voting Status (Impaired)
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,' Case No. 14-10979 (CSS)

Debtors. Jointly Administered

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NOTICE OF NON-VOTING STATUS TO HOLDERS OF
IMPAIRED CLAIMS AND EQUITY INTERESTS AGAINST
THE EFH/EFIH DEBTORS DEEMED TO REJECT THE PLAN

PLEASE TAKE NOTICE THAT on [ |, 2017, the United States Bankruptcy Court
for the District of Delaware (the “Court’”) entered an order [D.I. _] (the “EFH Disclosure
Statement Order”): (a) authorizing Energy Future Holdings Corp. (“EFH Corp.”), certain of its
direct and indirect subsidiaries (together with EFH Corp., the “EFH Debtors”),2 Energy Future
Intermediate Holding Company LLC (“EFIH”), and EFIH Finance, Inc. (together with EFIH,
the “EFIH Debtors,” and together with the EFH Debtors, the “EFH/EFIH Debtors”) to solicit
acceptances to the First Amended Joint Plan of Reorganization of Energy Future Holdings
Corp., Energy Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors
Pursuant to Chapter 11 of the Bankruptcy Code [D.I. ___] (as may be modified, amended, or
supplemented from time to time, the “Plan”);> (b) approving the Disclosure Statement for the
First Amended Joint Plan of Reorganization of Energy Future Holdings Corp., Energy Future
Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the
Bankruptcy Code, including all exhibits and schedules thereto [DJ. __] (as may be modified,
amended, or supplemented from time to time, the “EFH Disclosure Statement’) as containing
“adequate information” pursuant to section 1125 of the Bankruptcy Code; (c) approving the
solicitation materials and documents to be included in the solicitation packages; (d) approving

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2 The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECT, Inc., EFH Australia
(No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH
Renewables Company LLC, Generation Development Company LLC, LSGT Gas Company LLC, LSGT
SACROC, Inc., NCA Development Company LLC, and TXU Receivables Company.

3 Capitalized terms not otherwise defined herein shall have the same meanings set forth in the Plan.
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procedures for soliciting, receiving and tabulating votes on the Plan; and (e) establishing notice
and objection procedures for confirmation of the Plan.

PLEASE TAKE FURTHER NOTICE THAT because of the nature and treatment of
your Claim or Interest under the Plan, yeu are not entitled to vote on the Plan. Specifically,
under the terms of the Plan, as a holder of a Claim or Interest (as currently asserted against the
EFH Debtors or EFIH Debtors) that is Impaired and deemed to have rejected the Plan pursuant to
section 1126(g) of the Bankruptcy Code, you are not entitled to vote on the Plan.

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “EFH Confirmation Hearing”) will commence at a time
and date to be determined, before the Honorable Christopher S. Sontchi, in the United States
Bankruptcy Court for the District of Delaware, located at 824 North Market Street, Fifth Floor,
Wilmington, Delaware 19801.

Plan Objection Deadline. The deadline for filing preliminary objections to the Plan is
October 30, 2017 (the “Preliminary Plan Objection Deadline”); the deadline to file final
objections to the Plan will be determined but in no event later than December 19, 2017 (the
“Final Plan Objection Deadline”). Only those parties who file an objection to the Plan on or
before the Preliminary Plan Objection Deadline shall be permitted to file a final objection to the
Plan, unless otherwise ordered by the Bankruptcy Court. All objections to the relief sought at the
EFH Confirmation Hearing must: (a) be in writing; (b) conform to the Bankruptcy Rules, the
Local Rules, and any orders of the Court; (c) state, with particularity, the legal and factual basis
for the objection and, if practicable, a proposed modification to the Plan (or related materials)
that would resolve such objection; and (d) be filed with the Court (contemporaneously with a
proof of service) and served upon the following parties so as to be actually received on or
before the Preliminary Plan Objection Deadline and the Final Plan Objection Deadline, as
applicable:

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PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the
EFH Disclosure Statement, the Plan, the Plan Supplement or related documents, you should
contact Epiq Bankruptcy Solutions, LLC, the Solicitation Agent retained by the Debtors in these
Chapter 11 Cases, by: (a) calling the Debtors’ restructuring hotline at (877) 276-7311;
(b) visiting the Debtors’ restructuring website at: http://www.efhcaseinfo.com; and/or (c) email
to efhvote@epiqsystems.com and reference “EFH/EFIH” in the subject line. You may also
obtain copies of any pleadings filed in these Chapter 11 Cases for a fee via PACER at:
http://www.deb.uscourts.gov.

ARTICLE VIU OF THE PLAN CONTAINS RELEASE, EXCULPATION
AND INJUNCTION PROVISIONS, AND ARTICLE VII.D. CONTAINS A THIRD-
PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND CONSIDER THE
PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, CONTACT EPIQ BANKRUPTCY SOLUTIONS, LLC.

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Wilmington, Delaware

Dated: | ], 2017

DRAFT

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